946 F.2d 1567
    292 U.S.App.D.C. 87
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.UNITED STATES of America,v.Donald R. JONES, a/k/a Khallig Shabazz, Appellant.
    No. 90-3258.
    United States Court of Appeals, District of Columbia Circuit.
    July 26, 1991.
    
      Appeal from the United States District Court for the District of Columbia, C.A. No. 90-00116-01;  Bryant, J.
      Before MIKVA, Chief Judge, and RUTH B. GINSBURG and SILBERMAN, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      This appeal was considered on the record from the United States District Court for the District of Columbia and on the briefs filed by the parties.   The court has determined that the issues presented occasion no need for a published opinion.   See D.C.Cir. Rule 14(c).   It is
    
    
      2
      ORDERED AND ADJUDGED that the appellant's conviction be affirmed.   According to police officer testimony, which the district court found credible, Jones was not questioned in circumstances that would cause a reasonable person, innocent of wrongdoing, to feel he was not free to terminate the encounter.   Under governing precedent, therefore, no Fourth Amendment seizure occurred.   See United States v. Winston, 892 F.2d 112, 115 (D.C.Cir.1989);   see also Florida v. Bostick, 59 U.S.L.W. 4708 (U.S. June 20, 1991).   The district court's further determination that Jones voluntarily consented to the search of his person is similarly supported by the record.
    
    
      3
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.   See D.C.Cir. Rule 15.
    
    